     Case: 4:16-cv-00115-MPM-JMV Doc #: 23 Filed: 08/26/16 1 of 2 PageID #: 805




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


MICHAEL L. SHWARTZ                                                                    PLAINTIFF

V.                                                          CAUSE NO. 4:16CV115-MPM-JMV

HICHAM KHODR                                                                         DEFENDANT



                                    SHOW CAUSE ORDER

       This matter is before the court sua sponte for the purpose of requiring counsel for the

parties to show cause, at a hearing, for the creation–including when, how, and the purpose for

which it was created–and circulation of a certain purported text order appearing in the email

string attached as Exhibit A. The hearing to show cause will be set for 3:00 PM, Monday,

August 29, 2016, in Greenville Mississippi. All counsel are required to be present, and counsel

should also make available for the hearing any lawyer in their employ who appears as a

transmitter of the purported text order in the email string attached as Exhibit A.

       SO ORDERED this 26th day of August, 2016.



                                                                             /s/ Jane M. Virden
                                                                             U. S. Magistrate Judge
Case: 4:16-cv-00115-MPM-JMV Doc #: 23 Filed: 08/26/16 2 of 2 PageID #: 806




                       EXHIBIT A
